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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION



 UNITED STATES OF AMERICA,               CR 21-40120

       Plaintiff,
                                         NOTICE OF APPEARANCE
       vs.

 TYSON THILL,

       Defendant.


      Comes now the United States of America, by and through its undersigned

counsel, and files this Notice of Appearance of Assistant United States Attorney,

Carl Thunem as counsel of record for the United State of America in the

above-captioned matter.

      Date: December 5, 2023.

                                     ALISON J. RAMSDELL
                                     United States Attorney

                                     /s/ Carl Thunem

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